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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF MISSOURI
                                SOUTHEASTERN DIVISION


UNITED STATES OF AMERICA,                       )
                                                )
               Plaintiff,                       )
                                                )
vs.                                             )   No. 1:16CR00134 SNLJ
                                                )
MICHAEL MCNAIR, SR.,                            )
                                                )
               Defendant.                       )

                DEFENDANT'S MOTION FOR EXTENSION OF TIME
           TO FILE AMENDED MOTION FOR COMPASSIONATE RELEASE

       COMES NOW Defendant, by and through the undersigned counsel, and respectfully

moves the Court for an Order extending the time within which a supplemental motion to

defendant’s Motion for Compassionate Release must be filed by an additional 30 days or until

January 16, 2021.

       Counsel is in the process of reviewing Mr. McNair’s case and gathering records.

Counsel has requested additional records that we have yet to receive. Counsel requests an

additional 30 days to properly investigate and analyze Mr. McNair’s request for compassionate

release.

       WHEREFORE, in the interests of justice and for good cause shown, it is prayed that the

Court grant Defendant=s request to extend the deadline for the filing of any supplemental motion

by thirty days or until January 16, 2021.



                                            Respectfully submitted,


                                            /s/Scott Tilsen
                                            Scott F. Tilsen
                                            Assistant Federal Public Defender
                                            325 Broadway, 2nd Floor
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                                             P.O. Box 2043
                                             Cape Girardeau, Missouri 63702-2043
                                             Telephone: (573) 339-0242
                                             Fax: (573) 339-0305
                                             E-mail: scott_tilsen@fd.org

                                             ATTORNEY FOR DEFENDANT

                                CERTIFICATE OF SERVICE


       I hereby certify that on December 17, 2020, the foregoing was filed electronically with
the Clerk of the Court to be served by operation of the Court's electronic filing system upon the
United States Attorney’s Office.

                                             /s/Scott Tilsen
                                             Scott F. Tilsen
